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 PROB 12C                                                                          Report Date: September 25, 2020
(6/16)

                                       United States District Court                                     FILED IN THE
                                                                                                    U.S. DISTRICT COURT
                                                                                              EASTERN DISTRICT OF WASHINGTON
                                                       for the
                                                                                              Sep 25, 2020
                                        Eastern District of Washington                             SEAN F. MCAVOY, CLERK


                  Petition for Warrant or Summons for Offender Under Supervision

 Name of Offender: John G. Schadl                            Case Number: 0980 2:13CR00004-RMP-1
 Address of Offender:                                  Spokane, Washington 99224
 Name of Sentencing Judicial Officer: The Honorable Rosanna Malouf Peterson, U.S. District Judge
 Date of Original Sentence: August 22, 2013
 Original Offense:         Receipt of Child Pornography, 18 U.S.C. § 2252A(a)(2)
 Original Sentence:        Prison - 60 months                Type of Supervision: Supervised Release
                           TSR - months

 Revocation Sentence:      Prison - 6 months
 (08/20/2018)              TSR - Life
 Asst. U.S. Attorney:      Alison L. Gregoire                Date Supervision Commenced: January 24, 2019
 Defense Attorney:         Molly M. Winston                  Date Supervision Expires: Life
                                          PETITIONING THE COURT

To issue a warrant and to incorporate the violations contained in this petition in future proceedings with the
violations previously reported to the Court on 05/07/2020 and 06/26/2020.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

            3           Special Condition #11: You are prohibited from possessing or manufacturing any material,
                        including videos, magazines, photographs, computer-generated depictions, or any other
                        media that depict sexually explicit conduct involving children or adults, as defined at 18
                        U.S.C. § 2256(2). You must not enter any establishment involved in the sex industry,
                        including but not limited to adult bookstores, massage parlors, and strip clubs. You must not
                        utilize any sex-related adult telephone numbers. The supervising officer is authorized to
                        monitor compliance in this area by obtaining relative records including but not limited to
                        telephone, internet, credit cards and bank statements.

                        Supporting Evidence: It is alleged that on September 17, 2020, John Schadl violated special
                        condition number 11 of his supervised release by being in possession of approximately 100
                        pornographic images.

                        On January 29, 2020, an officer with the U.S. Probation Office in Spokane, Washington,
                        reviewed a copy of the conditions of supervision with Mr. Schadl as outlined in the judgment
                        and sentence. He signed the judgment acknowledging the requirements.

                        On September 15, 2020, the undersigned officer contacted Mr. Schadl regarding a weekly
                        accountability report that had been generated by Covenant Eyes on September 10, 2020.
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                     Although the report did not identify any pornography, it did include images that were
                     sexually suggestive.

                     During our conversation on September 15, 2020, the offender admitted to having nude
                     images on his cellular telephone. When this officer inquired about how many prohibited
                     images he had on his cell phone, Mr. Schadl responded, “too many to count.”

                     A forensic examination of the offender’s cell phone was subsequently conducted with the
                     assistance of the Federal Bureau of Investigations (FBI) on September 17, 2020.

                     On September 18, 2020, this officer was informed that more than 100 images of adult female
                     pornography (breasts and/or groin) were located, as well as one image of a prepubescent
                     female vagina, as seen from above and inside a loose bikini bottom.

                     It should be noted, the offender’s cell phone was subject to monitoring, which did not detect
                     any of the pornographic images that were eventually located on the cell phone, suggesting
                     that Mr. Schadl has been circumventing the computer monitoring software.

The U.S. Probation Office respectfully recommends the Court issue a warrant and incorporate the violations
contained in this petition in future proceedings with the violations previously reported to the Court.

                                        I declare under penalty of perjury that the foregoing is true and correct.
                                                          Executed on:     09/25/2020
                                                                           s/Amber M.K. Andrade
                                                                           Amber M.K. Andrade
                                                                           U.S. Probation Officer

 THE COURT ORDERS

 [ ]      No Action
 [ X]     The Issuance of a Warrant
 [ ]      The Issuance of a Summons
 [ X]     The incorporation of the violation(s) contained in this
          petition with the other violations pending before the
          Court.
 [ ]      Defendant to appear before the Judge assigned to the
          case.
 [ X]     Defendant to appear before the Magistrate Judge.
 [ ]      Other
                                                                           Signature of Judicial Officer
                                                                                  9/25/2020
                                                                           Date
